              Case: 18-2040                  Document: 1-3   Filed: 05/08/2018     Pages: 1



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 ‐ 219 S. Dearborn Street                                   Phone: (312) 435‐5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING ‐ Short Form
 May 8, 2018


 To:         Stephen C. Dries
             Clerk of Court

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 18‐2040

                    Caption:
                    RAMON E. RIVERA,
                    Petitioner ‐ Appellant

                    v.

                    UNITED STATES OF AMERICA,
                    Respondent ‐ Appellee


                    District Court No: 2:18‐cv‐00459‐JPS
                    District Judge J. P. Stadtmueller
                    Clerk/Agency Rep Stephen C. Dries

                    Date NOA filed in District Court: 05/07/2018


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)




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